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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

(1) QUILL INK BOOKS LIMITED, a
foreign corporation,

       Plaintiff,


v.                                                Case No.: CIV-18-920-G

(1) ABCD GRAPHICS AND DESIGN,
INC., D/B/A BLUSHING BOOKS
PUBLISHING, a foreign corporation, et al.,

       Defendants.


                             FINAL PRETRIAL REPORT



All counsel who will appear at trial:

Appearing for Plaintiff:

Gideon A. Lincecum, Esq.
James W. Dobbs, Esq.
Dylan D. Erwin, Esq.
HOLLADAY & CHILTON, PLLC

Appearing for Defendant:

Becky Briggs, Esq.
THE LAW OFFICE OF BECKY BRIGGS, LLC


                      Jury Trial Demanded  - Non-Jury Trial 
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1.   BRIEF PRELIMINARY STATEMENT.

     a.      Plaintiff:

            This action arises from knowingly false and defamatory communications
     intentionally delivered by Defendant ABCD Graphics and Design, Inc. d/b/a
     Blushing Books Publishing (“Defendant”) directly to Plaintiff Quill Ink Books
     Limited’s (“Plaintiff”) eBook distributor, Draft2Digital, L.L.C. (“Draft2Digital”),
     and directly to various, other online vendors. Defendant’s contacts with
     Draft2Digital tortiously interfered with Plaintiff’s distribution contract with
     Draft2Digital; deprived Plaintiff of its contractual right to participate in
     Draft2Digital’s distribution program; and caused Plaintiff to lose pre-release and
     ordinary book sales in the United States and internationally. Plaintiff filed the
     instant action on October 17, 2018, against Defendant seeking injunctive relief for
     intentional interference with contract and for copyright misuse; and for damages
     for misrepresentation of copyright claims under the DIGITAL MILLENNIUM
     COPYRIGHT ACT, tortious and malicious interference with prospective and existing
     business relationships, defamation, false light, civil conspiracy; and, for
     declaratory relief.

     b.      Defendant:

             This is a civil case involving two publishing companies. The plaintiff
     company alleges that the defendant company misrepresented claims made to
     internet service providers as part of the defendant’s protection of copyrights to its
     literary works. The defendant made a claim to these providers, pursuant to the
     Digital Millennium Copyright Act, because it believed that literary works created
     by Plaintiff and being sold on these websites infringed upon the defendant’s
     copyrighted literary works. The literary works at issue in this case are romance
     novels.

            The plaintiff has made several claims related to this activity. The defendant
     has denied all of those claims.

2.   JURISDICTION.

     a.      Plaintiff:

             The Court has subject matter jurisdiction over the federal claims pursuant
     to the Copyright Act (17 U.S.C. §§ 101 et seq.), 28 U.S.C. §§ 1331 and 1338 and
     the Declaratory Judgment Act (28 U.S.C. § 1367(a)). The state law claims form
     part of the same case or controversy as the federal claims.
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     b.      Defendant

           The Defendant does not believe that jurisdiction is proper in this case, for a
     couple reasons.

            None of the acts giving rise to this incident occurred in the State of
     Oklahoma. In addition, Defendant never availed itself of the court’s jurisdiction
     through any minimum contacts. Plaintiff has asserted throughout this lawsuit that
     Defendant contacted Draft2Digital, an online vendor centralized in Oklahoma.
     Documents produced pursuant to a subpoena issued to Draft2Digital, as well as
     discussions with their corporate attorney, have demonstrated that this is not the
     case. Any communication with Draft2Digital came through a third party, not
     Blushing Books. The evidence indicates Defendant has proven their previously
     pleaded affirmative defense of lack of jurisdiction, entitling them to summary
     judgment on that issue.

            In addition, the Plaintiff claimed this court has subject matter jurisdiction
     over the federal claims pursuant to the Declaratory Judgment Act (28 U.S.C. §
     1367(a)) in that the state law claims form part of the same case or controversy as
     the federal claims. The Defendant disputes this for the preemption arguments
     outlined below, and in Defendant’s separate Motion for Summary Judgment.

     [Plaintiff’s Response: Defendant waived jurisdiction in their Answer and no such
     motion for summary judgment has ever been filed.]

3.   STIPULATED FACTS. List stipulations as to all facts that are not disputed or
     reasonably disputable, including jurisdictional facts.

          a. Plaintiff’s Proposed Stipulations:

                 i. Jurisdiction and venue are proper.

                ii. Jurisdiction is proper in the Western District of Oklahoma under 28
                    U.S.C.

                iii. § 1332 as the amount in controversy exceeds seventy-five thousand
                     dollars ($75,000.00) and complete diversity exists.

          b. Defendant’s Proposed Stipulations: The Defendant does not stipulate to
             any facts.

4.   LEGAL ISSUES. State separately, and by party, each disputed legal issue and the
     authority relied upon.
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A.      Plaintiff:

        1.     Whether Defendant knowingly and willfully misused the “safe
               harbor” provisions of the DIGITAL MILLENNIUM COPYRIGHT ACT and
               federal copyright law by claiming ownership of certain common
               tropes within the sub-genre of omegaverse fiction in order to
               demand the expeditious takedown of the MYTH OF OMEGA series.

               Authority:    17 U.S.C. § 512

        2.     Whether Defendant materially misrepresented to Draft2Digital,
               Amazon, Barnes & Noble, iTunes/Apple, Rakuten/Kobo and/or other
               parties that the MYTH OF OMEGA series infringes upon the ALPHA’S
               CLAIM series in the take-down notices.

               Authority:    17 U.S.C. § 512(f)

        3.     Whether Defendant breached a duty to exercise good faith and due
               diligence in evaluating and filing any take-down notice with respect
               to the MYTH OF OMEGA series, and because of that breach Plaintiff
               suffered financial losses and harm to their reputation.

               Authority: OUJI (Civil) Nos. 9.1, 9.2, 9.3, 9.6, 9.10

        4.     Whether Defendant tortuously interfered with Plaintiff’s prospective
               business relations and expectancies involving the sale of the Myth of
               Omega economic advantage in communicating and directing others
               to file false reports to online vendors.

               Authority: Batton v. Mashburn, 107 F. Supp. 3d 1191, 2015 U.S.
               Dist. LEXIS 61890 (W.D. Okla. 2015) (“To prevail [on a claim for
               tortious interference with prospective economic advantage] a
               plaintiff must allege and prove the existence of a valid business
               relation or expectancy, knowledge of the relationship or expectancy
               on the part of the interferer, an intentional interference inducing or
               causing a breach or termination of the relationship or expectancy,
               and resultant damage to the party whose relationship has been
               disrupted.”) (internal citations omitted); Gonzalez v. Sessom, 2006
               OK CIV APP 61, ¶ 16, 137 P.3d 1245, 1249 (“The essential
               elements of a claim for intentional interference with prospective
               economic advantage are (1) the existence of a valid business relation
               or expectancy, (2) knowledge of the relationship or expectancy on
               the part of the interferer, (3) an intentional interference inducing or
               causing a breach or termination of the relationship or expectancy,
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         and (4) resultant damage to the party whose relationship has been
         disrupted. The interference is intentional if the interferer acted with
         the purpose to interfere with the relationship or expectancy.”)

   5.    Whether Defendant maliciously, wrongfully, and knowingly
         interfered with Plaintiff’s existing business relations involving the
         sale of the Myth of Omega economic advantage in communicating
         and directing others to file false reports to online vendors.

         Authority: Wilspec Techs., Inc. v. Dunan Holding Group Co.,
         Ltd., 2008 U.S. Dist. LEXIS 47750, *9 (W.D. Okla. 2008) (“The
         elements of a claim for malicious interference with contract or
         business relations…[requires] proof that defendant interfered with
         plaintiff’s business or contractual rights; the interference was not
         justified, privileged, or excusable; and plaintiff was damaged as a
         result of the interference.”); Mercer Publ., Inc. v. Smart Cookie Ink,
         LLC, 2012 U.S. Dist. LEXIS 198949, *14 (W.D. Wash. 2012)
         (“[Plaintiff] further alleges that [Defendant] continued to send these
         allegedly misleading DMCA notices even after [Plaintiff] provided
         evidence that its produces did not infringe…Based on these
         allegations, the court concludes that [Plaintiff] has pleaded sufficient
         factual support to state a plausible claim for relief under the
         DMCA.”)

   5.    Whether Defendant knowingly, willfully, and maliciously published
         false and defamatory statements concerning Plaintiff with knowledge
         of the statements’ falsity, and/or with reckless and negligent
         disregard for the falsity of the statements.

         Authority: OUJI (Civil) Nos. 28.1, 28.2, 28.9

   6.    Whether Defendant broadcasted information to a large number of
         people regarding Plaintiff that would be highly objectionable to a
         reasonable person and which attributed to Plaintiff and its
         publications false characteristics, conduct and/or beliefs that placed
         Plaintiff and its publications in a highly offensive and false light and
         position.

         Authority: OUJI (Civil) 28.15

   7.    Whether Defendant and their author, Rachelle Soto a/k/a Addison
         Cain together conspired wrongfully stifle competition and harm
         Plaintiff financially.
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                Authority: Hitch Enters v. Cimarex Energy Co., 859 F. Supp.
                1249, 1268, 2012 U.S. Dist. LEXIS 70564, *46 (W.D. Okla. 2012)
                (“In Oklahoma, the essential elements of a civil conspiracy that a
                plaintiff must ultimately establish are (1) two or more persons; (2) an
                object to be accomplished; (3) a meeting of minds on the object or
                course of action; (4) one or more unlawful, overt acts; and (5)
                damages as the proximate result.”) (internal citations omitted);
                Singer v. Wadman, 745 F.2d 606, 609, 1984 U.S. App. LEXIS
                18198, *7 (10th Cir. 1984) (“A civil conspiracy is the combination
                of two or more persons acting in concert, either to commit an
                unlawful act, or to commit a lawful act by unlawful means.”)

B.      Defendant

        1.      Defendant’s Daubert Motion—Objected to by Plaintiff.
             Authorities and case law outlined in Doc. No. 48. No ruling as of yet.

        2.       Defendant’s Witness and Exhibit Objections. Defendant filed a
             host of objections to Plaintiff’s Witness and Exhibit list, Doc. No. 44,
             filed May 23rd, 2019. No ruling as of yet.

        [Plaintiff’s Response: Defendant did not file any motions in limine, as
        ordered by the Court, seeking to exclude evidence based upon any such
        objections. Any such objections, including those attempted to be made out
        herein, were not properly preserved and are deemed waived.]

        3.      Partial Summary Judgment for the Plaintiff—Doc.No. 49,
             Objected to by Defendant. No ruling as of yet.

        4.      Summary Judgment for the Defendant—to be filed within 30
             days after the close of discovery. Brief Summary below:

        [Plaintiff’s Response: No such deadline for the filing of dispositive motions
        was provided for in the Court’s scheduling order. Defendant has not filed
        any motion for summary judgment and the deadline for doing so was on
        June 1, 2019. Item 4 and its subparts and Item 5 below should be stricken
        from this order.]

                a.      Count 1—Misuse of Copyright. Defendant is entitled to
                     Summary Judgment and/or a directed verdict on Count I –
                     Misuse of Copyright “[C]ourts have generally head that
                     copyright misuse does not support a claim for damages.” Malibu
                     Media, LLC v. Doe 1, 2012 WL 6681990, at *2 (D. Md. Dec. 21,
                     2012) (quoting Ameretto Ranch Breedables v. Oximals, Inc., 790
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                F. Supp. 2d 1024, 1034 n.7 (N.D.Cal 2012)(collecting cases).

           b.       Counts III-VIII--Defendant is entitled to Summary
                Judgment and/or a directed verdict on all the State Tort Cases
                (Count III – Negligence, Count IV-Tortious Interference with
                Prospective Economic Advantage, Count V-Malicious
                Interference with Contract or Business Relations, Count VI-
                Defamation, Count VII-False Light, and Count VIII-Civil
                Conspiracy) in that they all merge with Count II under federal
                preemption principles. These state tort claims stem directly from
                the filing of the DMCA takedown notices, and Plaintiff can seek
                relief within that statute. Defendant relies on the following
                authorities for this proposition:

           c.      Principles of Preemption are sourced in the US Constitution:

   This Constitution, and the laws of the United States which shall be made in
   pursuance thereof; and all treaties made, or which shall be made, under the
   authority of the United States, shall be the supreme law of the land; and the
   judges in every state shall be bound thereby, anything in the Constitution or
   laws of any state to the contrary notwithstanding. Art. 6 cl. 2, U.S.
   Constitution:

           d.       When Congress amended the Copyright Act in 1976, it
                provided for the preemption of state law claims that are
                interrelated with copyright claims in certain ways. Under 17
                U.S.C. § 301, a state law claim is preempted when: (i) the state
                law claim seeks to vindicate “legal or equitable rights that are
                equivalent” to one of the bundle of exclusive rights already
                protected by copyright law under 17 U.S.C. § 106—styled the
                “general scope requirement”; and (ii) the particular work to
                which the state law claim is being applied falls within the type of
                works protected by the Copyright Act under Sections 102 and
                103—styled the “subject matter requirement.” The state law
                claims asserted by Quill based on Oklahoma law are preempted
                by federal authority, and the court lacks jurisdiction over them
                anyway.

   5.      Defendant is entitled to Summary Judgment and/or a directed
        verdict on Count IX—Declaratory Judgment

   To issue a declaratory judgment, there must be an actual controversy
   between the parties. Several courts have held that DMCA takedown
   notices, without accompanying threats of litigation, do not create a
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             justiciable controversy that would warrant a declaratory judgment. See
             Handshoe v. Perret, 270 F. Supp. 3d 915, 933 (S.D. Miss. 2017)
             (“Unasserted, unthreatened and unknown potential future copyright claims
             against Plaintiff do not present an immediate or real threat which merits
             declaratory relief.”)’ Pac. Bell Internet Servs. V. Recording Indus. Ass’n of
             Am., Inc., 2003 WL22862662, at *4 (N.D. Cal. Nov. 26, 2003) (holding
             there was no actual controversy with notice letters that did not threaten
             litigation). Here, as in the cases cited above, there is no actual controversy
             between Quill Ink and ABCD Graphics. The DMCA takedowns, without
             more, do not create a justiciable controversy.

5.   CONTENTIONS AND CLAIMS FOR DAMAGES OR OTHER RELIEF
     SOUGHT.

     A.      Plaintiff:

             Contentions:

             1.     Misuse of DMCA Notice Procedure/Abuse of Process

                    a.      The MYTH OF OMEGA series is an original work of
                            authorship, not infringement.

                    b.      The Myth of Omega series was independently created and
                            employed a degree of creativity consistent with other “fan
                            fictions” written in omegaverse fiction.

                    c.      The Myth of Omega series is a dark-edged romance that
                            draws upon established omegaverse tropes and immerses the
                            reader in a stirring tale of a yearning erotic desire amidst a
                            heroine’s epic journey. However, Cain’s dark erotic suspense
                            thriller, while also drawing upon omegaverse tropes, is a story
                            of brutal rape, murder, and death—a horrific tragedy of loss.

                    d.      And, though there is no single, accepted set of rules for
                            stories written in the omegaverse genre, such stories usually
                            include strong themes of dominance, submission, and
                            possessiveness. Most stories focus on alphas bonding and
                            mating with omegas, and there is a strong use of the “soul
                            mate” trope as well as the concept of sex (or mating) as a
                            biological imperative. As demonstrated above, some stories
                            build alternate societal and cultural traditions, while others
                            insert omegaverse conventions into an otherwise “real world”
                            or canonical story.
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         e.    The Myth of Omega and Alpha’s Claim both assimilate
               dominant omegaverse tropes.

         f.    Blushing and its author’s motivation, however, in demanding
               the removal of the Myth of Omega series was not to protect
               any copyright, but instead was intended to stifle competition.

         g.    Blushing and its author have engaged in similar acts with
               other authors writing omegaverse fan fiction.

         h.    In this instance, Blushing and its author used false copyright
               claims in their “take-down” notice because the “safe harbor”
               provisions of the Digital Millennium Copyright Act, 17
               U.S.C. § 512, provides a mechanism by which it could
               demand expeditious takedown of materials alleged to infringe
               copyright.

         i.    Blushing and its author never intended to pursue litigation in
               good faith because the only similarities between the Myth of
               Omega and Cain’s Alpha’s Claim were the persistent and
               dominant tropes found in all omegaverse fan fiction.

         j.    Cain’s assertion of ownership with respect to the male/female
               omegaverse sub-genre and false claim of authoring the first
               male/female story arc are unfounded, claims. Such deceit can
               only be maintained by willfully and purposefully ignoring
               catalogued omegaverse fan fiction publications beginning in
               2010 that predate Cain’s 2016 series.

   2.    Misrepresentation, 17 U.S.C. § 512(f)

         a.    Blushing and its author knowingly and materially
               misrepresented to Draft2Digital, Amazon, Barnes and Noble,
               iTunes-Apple and Rakuten-Kobo and other parties that the
               Myth of Omega series infringes upon Cain’s copyright while
               falsely claiming review of all three books of the series.

         b.    Blushing and its author knowingly and inaccurately
               represented the standard to vendors that “ideas” “plots” and
               “arcs” are copyrightable.

         c.    Out of the supposed similarities, Blushing and its author
               misrepresented eight of them as copyrightable, without noting
               that they are tropes of omegaverse, in no way novel or unique
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               to Cain’s work, and thus not subject to copyright protection.
               In particular, Defendants misleadingly alleged that they hold
               copyright on the concepts of (a) alphas being big, (b)
               suppressants being used by omegas to hide their dynamics,
               (c) protagonist couple be an alpha male and an omega female,
               (d) omegas are rare and valued as mates to provide children,
               (e) that in a dark romance the main character is an anti-hero,
               (f) that the omega fights and wants to escape the relationship,
               (g) that the omega is unhappy, and (h) that biology
               predetermines the finding of mates (most shifter romance
               works include this). These are concepts that cannot be
               copyrighted.

         d.    Ten of the allegations of why Cain’s work was copyrightable
               were presented in a misleading way that ignores the context,
               logic, and circumstances of the books.

         e.    Twelve of the allegations were outright false statements made
               about the story of Crave to Conquer to make it seem like it
               had been copied from Cain. These allegations are not only
               incorrect, but purposefully inaccurate. And, much of the
               information provided by Blushing and its author about its
               own work was presented incorrectly and/or out of context to
               make it similar to Crave to Conquer for the purposes of the
               “take-down” notices. A side-by-side comparison
               demonstrates that Blushing and its author liberally misquote
               their own work.

         f.    Blushing and its author represented that they had conducted
               an independent review of a book that had not been published
               (established law required that for copyright violation to occur
               there must be “text” or “work” that infringes the copyrighted
               work). Blushing and its author still represented that in Crave
               to Claim where the two main characters mate, have an infant
               daughter, rule their world together, and live happily ever after
               violated the copyrighted text of Cain’s third book wherein the
               heroine gets raped as orchestrated by the ex-lover of the anti-
               hero (with who the anti-hero had cheated with), she loses her
               baby and is left for dead, the anti-hero is presumed to be
               dead, and at the end of the book it is unclear whether or not
               both main characters are alive.

         g.    Blushing and its author made all of these allegations under
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               penalty of perjury and represented they had satisfied the
               requirements under the Copyright Act and that they were
               filing “take-down” notices in good faith.

         h.    Blushing and its author’s actions have caused Plaintiff
               injuries as set forth above and they are entitled to all relief
               afforded by law.

    3.   Negligence

         a.    Blushing and its author had a duty to Plaintiff to exercise
               good faith and due diligence in communicating with others
               regarding its “take-down” notice with respect to the Myth of
               Omega series.

         b.    Blushing and its author breached its duty to Plaintiff.

         c.    Because of Cain’s and Blushing’s breach, Plaintiff suffered
               financial losses.

    4.   Tortious Interference With Prospective Economic Advantage

         a.    Plaintiff had prospective business relations and expectancies
               involving the sale of the Myth of Omega series as distributed
               through the vendors.

         b.    Blushing and its author had knowledge of Plaintiff’s
               prospective business relations and expectancies.

         c.    Blushing and its author intentionally interfered with
               Plaintiff’s prospective business relations and expectancies
               causing a breach and termination of those relationships and
               expectancies.

         d.    Blushing and its author’s interference caused Plaintiff to
               suffer economic losses and other damages as set forth herein.

         e.    Plaintiff is entitled to all relief afforded by law resulting from
               Blushing and its author’s wrongful and intentional
               interference with their prospective business relations and
               expectancies.

    5.   Malicious Interference With Contract Or Business Relations

         a.    Plaintiff had existing business relations involving the sale of
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               the Myth of Omega series.

         b.    Blushing and its author intentionally interfered with
               Plaintiff’s existing business relations causing a breach and
               termination of is relationship with Draft2Digital and other
               partners.

         c.    Blushing and its author’s interference was malicious,
               wrongful, and neither justified, privileged, nor excusable.

         d.    Blushing and its author’s interference proximately caused
               Plaintiff to suffer economic losses and other damages.

    6.   Defamation

         a.    Blushing and its author made false and defamatory statements
               concerning Plaintiff and its publications.

         b.    Blushing and its author’s anonymously conspired and
               colluded to publish and communicate these false and
               defamatory statements concerning Plaintiff and its
               publications to third parties without privilege or
               authorization, including accusations Plaintiff’s author is
               engaging in harassment, and are presently maintaining and
               continuing their tortious activities.

         c.    Blushing and its author’s anonymously created and/or
               contributed to multiple online forums that published and
               communicated these false and defamatory statements
               concerning Plaintiff and its publications. Such forums
               continue in operation.

         d.    Blushing and its author’s published the false and defamatory
               statements concerning Plaintiff with actual malice, with
               knowledge of the statements’ falsity, and/or with reckless and
               negligent disregard for the falsity of the statements.

    7.   False Light

         a.    Blushing and its author broadcast to the public in general
               and/or to a large number of people information that would be
               highly objectionable to a reasonable person by attributing to
               Plaintiff and its publications false characteristics, conduct,
               and/or beliefs that place Plaintiff and its publications in a
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               highly offensive and false light and position.

         b.    Blushing and its author placed Plaintiff and its publications in
               a false light even though they knew of and/or acted in
               reckless disregard of the falsity of the publicized information.

         c.    Plaintiff has incurred damages and other harm as a result of
               Blushing and its author’s tortious conduct.

    8.   Civil Conspiracy

         a.    Blushing and its author form a confederation of two or more
               people or entities.

         b.    On information and belief, Blushing and its author together
               facilitated and furthered, and continue to facilitate and
               further, false claims of plagiarism against Plaintiff to harm
               Plaintiff financially.

         c.    On information and belief, Blushing and its author together
               facilitated and furthered, and continue to facilitate and
               further, the posting of defamatory statements online about
               Plaintiff and have and continue to cause Plaintiff to be cast in
               a false light to stifle competition and harm Plaintiff
               financially.

         d.    Blushing and its author’s misconduct and unlawful activities
               caused, and continue to cause, Plaintiff actual harm for which
               it is entitled to recover damages.

    9.   Declaratory Judgment

         a.    A real and actual controversy exists between Plaintiff and
               Blushing and its author regarding whether the Myth of
               Omega series infringes upon any copyrights claimed by Cain.

         b.    Plaintiff seeks a declaratory judgment pursuant to 28 U.S.C.
               §§ 2201-2202 and Rule 57 of the Federal Rules of Civil
               Procedure to determine and adjudicate questions of actual
               controversy between parties.

         c.    Plaintiff contends as it relates to Blushing and its author,
               consistent with the Copyright Act, judicial decisions
               construing such laws, doctrines, and provisions, publication
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                of the Myth of Omega series is lawful.

          d.    Blushing and its author contend the contrary of the above-
                stated proposition and refuse to withdraw the false DMCA
                notices.

    Claims for Damages:

    1.    Damages for lost earnings estimated at $135,000.00 based upon
          expected pre-orders, sales, and future potential sales at
          approximately $15,000.00 per book for each book in Plaintiffs Zoey
          Ellis brand of books, or such other amount as the evidence at trial
          shall demonstrate;

    2.    Reputational harm damages to Plaintiffs brand(s) and lost earning
          capacity believed to be in excess of $250,000.00, or such other
          amount as the evidence at trial shall demonstrate;

    3.    Plaintiffs damages for Plaintiffs lost business or economic
          opportunities believed to be in excess of $250,000.00, or such other
          amount as the evidence at trial shall demonstrate·

    4.    Plaintiffs damages due to interruption of and increased expense of
          publishing and creative costs, including, but not limited to, lost
          business partnerships, said amount believed to be in excess of
          $100,000.00, or such other amount as the evidence at trial shall
          demonstrate;

    5.    All income derived by Defendant flowing from the disparagement
          scheme between Defendant, Rachelle Soto, and others with respect
          to Plaintiffs brand(s) believed to be in excess of $100,000.00, or
          such other amount as the evidence at trial shall demonstrate;

    6.    Punitive damages for the sake of example and by way of punishing
          Defendant for its malicious, intentional, and knowing activities
          taking into account the profitability of Defendant's misconduct, the
          duration of Defendant's misconduct and attempted concealment
          thereof, Defendant's awareness, Defendant's attitude and conduct,
          the number and level of employees causing and concealing the
          misconduct, and the financial condition of Defendant, said amount
          expected to be in excess of $500,000.00. 23 OKLA. STAT. § 23-
          9.l(D) (Category Ill) ("Where the jury finds by clear and convincing
          evidence that: 1. The defendant has acted intentionally and with
          malice towards others; ... the jury, in a separate proceeding
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           conducted after the jury has made such finding and awarded actual
           damages, may award punitive damages in any amount the jury
           deems appropriate, without regard to the limitations set forth in
           subsections B and C of this section.")

     7.    Attorney’s fees and costs pursuant to 17 U.S.C. § 512(f), other
           portions of the COPYRIGHT ACT, incurred by Quill as a result of
           Defendant's unlawful actions, plus such other and further fees and
           costs incurred to the date of trial.

     8.    Piercing of Defendant's corporate veil as courts may disregard the
           legal fiction that bestows on an entity an existence that is separate
           and distinct from its members when necessary to protect the interests
           of the public, circumvent fraud, and protect the rights of third
           persons or accomplish justice. See, e.g., Mid-Continent Life Ins. Co.
           v. Goforth, 1943 OK 244, 110, 193 Okla. 314, 143 P.2d 154.

B.   Defendant:

     Defendant’s Motion to Compel Discovery (Doc. No. 60). The Court
     ordered Plaintiff to provide additional computations of damages by
     September 3rd, 2019. That discovery has not yet been provided.

     [Plaintiff’s Response: As ordered, Plaintiff reviewed its computation for
     purposes of supplementing its Rule 26 disclosures. Plaintiff’s computation
     of damages remains the same and all documents supporting those
     computations, as acknowledged by Defendant’s counsel at the recent
     hearing, had already been produced in discovery. The estimate of
     Plaintiff’s damages for each category is unchanged and the supporting
     documentation was provided on August 15, 2019, prior to the hearing,
     including the amounts Defendant’s made following the filing of the false
     DMCAs. Defendant’s counsel was so advised and merely stated it did not
     matter as Defendant had already met with a bankruptcy attorney in the
     event any damages were awarded. Defendant’s counsel never made any
     attempt to discuss any further deficiencies in Plaintiff’s disclosures or
     discovery responses following the Court’s order despite numerous
     opportunities to discuss, including when Defendant’s counsel appeared for
     docket call on September 3, 2019. To the extent any issue remained,
     Defendant was required to advise the Court of any the remaining issues no
     later than September 3, 2019. Moreover, Defendant, throughout discovery,
     never sought to take any depositions regarding Plaintiff’s damages and has
     sat idle despite Plaintiff’s designation of a corporate representative with
     personal knowledge of Plaintiff’s damages. Defendant cannot now be heard
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             to complain about anything. Defendant’s initial complaint was only made
             to cover Defendant’s spoliation of evidence and Plaintiff’s motion for
             sanctions. Nevertheless, Plaintiff has fully complied with the Court’s order
             having provided all documents supporting its original damage estimates in
             supplementation of its Rule 26 obligations and in response to Defendant’s
             discovery requests. Plaintiff simply does not have anything else to provide
             Defendant.

                    More importantly, at the September 3, 2019 docket call, Defendant’s
             counsel advised Plaintiff that Defendant would not be producing the
             documents, including the email, ordered by the Court. Plaintiff requested
             that Defendant produce everything ordered by the close of business on
             September 6, 2019, which is when this Final Pretrial Conference Order is
             due. At the time of delivery of this document, Defendant has not produced
             the documents as ordered. Thus, while Plaintiff has again done everything
             required by the Court, Defendant has done nothing and has attempted to
             conceal their conduct with frivolous discovery disputes, which it has not
             made any effort whatsoever to follow-up on.]

6.    EXHIBITS. The following exclusionary language MUST be included:

      Unlisted exhibits will not be admitted unless, by order of the court, the final
      pretrial order is amended to include them.

      A.     Plaintiff:

No. Title/Description                          Bates No.       Objection           Rule
1.  MOTION for Leave to Proceed                             The Pleadings       801(c),802,
    Under Pseudonym by All Plaintiffs.                      are                  805,
    (Lincecum, Gideon) (Entered:                            inadmissible        901(a),
    09/19/2018)                                             hearsay, are not    401, 402,
                                                            evidence, and       104(b), and
                                                                                b, Lack of
                                                            should not be
                                                                                Foundation.
                                                            admitted as
                                                            exhibits.
2.   ORDER denying Motion for Leave. If                     The Pleadings      801(c),802,
     Plaintiffs choose to pursue the                        are                 805,
     prosecution of this lawsuit, Plaintiffs                inadmissible       901(a), 401,
     shall file an amended complaint that                   hearsay, are not   402, 104(b),
     fully complies with Federal Rules of                   evidence, and      and b, Lack
                                                                               of
     Civil Procedure 10(a) and 17(a)                        should not be
                                                                               Foundation.
     within ten days of the date of this                    admitted as
     order. Signed by Honorable Charles                     exhibits.
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     Goodwin on 10/11/2018. (jb)
     (Entered: 10/11/2018)
3.   AMENDED COMPLAINT against                    The Pleadings      801(c),802,
     All Defendants filed by Quill Ink            are                 805,
     Books Limited. (Attachments:                 inadmissible       901(a), 401,
     # 1 Exhibit-Blushing Information,            hearsay, are not   402, 104(b),
     # 2Exhibit-Trademark Dismissal,              evidence, and      and b, Lack
                                                                     of
     # 3 Exhibit-Take Down Notice dated           should not be
                                                                     Foundation.
     4-19-18, # 4 Exhibit-Additional Take         admitted as
     Down Notice, # 5 Exhibit-Vendor              exhibits.           106,
     Communications, # 6 Exhibit-                                     1001-
     Counter-Notices dated 5-14_16-18,                                1004,
     # 7 Exhibit-Draft2Digital
     Correspondence, # 8 Exhibit-Cain                                602
     Review Manipulation, # 9 Exhibit-
     Cain's Online Posts targeting Ellis,
     # 10 Exhibit-Amazon Guidelines,
     # 11 Exhibit-Disparaging Posts,
     # 12 Exhibit-Review Manipulation,
     # 13 Exhibit-Kristina Busse Ph D
     Analysis, # 14 Exhibit-Blushing
     Emails, # 15 Exhibit-Cease and Desist
     Letter, # 16 Exhibit-Cain's Dragon
     Maiden Post)(Lincecum, Gideon)
     (Entered: 10/17/2018)
4.   MOTION to Dismiss for Lack of                The Pleadings      801(c),802,
     Jurisdiction Or in the Alternative,          are                 805,
     MOTION to Transfer Case by                   inadmissible       901(a), 401,
     Rachelle Soto. (Attachments:                 hearsay, are not   402, 104(b),
     # 1 Exhibit 1 - Soto's                       evidence, and      and b, Lack
                                                                     of
     Declaration)(Dellegar, Shawn)                should not be
                                                                     Foundation.
     (Entered: 11/26/2018)                        admitted as
                                                  exhibits.           106,
                                                                      1001-
                                                                      1004,

                                                                     602
5.   RESPONSE in Opposition                       The Pleadings      801(c),802,
     re MOTION to Dismiss for Lack of             are                 805,
     Jurisdiction Or in the                       inadmissible       901(a), 401,
     Alternative MOTION to Transfer               hearsay, are not   402, 104(b),
     Case and 19RESPONSE to                       evidence, and      and b, Lack
                                                                     of
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     Complaint filed by Quill Ink Books           should not be      Foundation.
     Limited. (Attachments: # 1 Exhibit           admitted as
     1_Coale Declaration)(Lincecum,               exhibits.           106,
     Gideon) (Entered: 12/17/2018)                                    1001-
                                                                      1004,

                                                                     602
6.   REPLY by Defendant Rachelle Soto             The Pleadings      801(c),802,
     re MOTION to Dismiss for Lack of             are                 805,
     Jurisdiction Or in the                       inadmissible       901(a), 401,
     Alternative MOTION to Transfer               hearsay, are not   402, 104(b),
     Case (Dellegar, Shawn) (Entered:             evidence, and      and b, Lack
                                                                     of
     12/26/2018)                                  should not be
                                                                     Foundation.
                                                  admitted as
                                                  exhibits.           106,
                                                                      1001-
                                                                      1004,

                                                                     602
7.   REPLY by Defendant ABCD                      The Pleadings      801(c),802,
     Graphics and Design Inc REPLY IN             are                 805,
     SUPPORT OF DEFENDANT                         inadmissible       901(a), 401,
     BLUSHING BOOKS' MOTION TO                    hearsay, are not   402, 104(b),
     DISMISS PLAINTIFF'S FIRST                    evidence, and      and b, Lack
                                                                     of
     AMENDED COMPLAINT DUE TO                     should not be
                                                                     Foundation.
     LACK OF PERSONAL AND                         admitted as
     GENERAL JURISDICTION, AND                    exhibits.           106,
     IMPROPER VENUE filed by ABCD                                     1001-
     Graphics and Design Inc. (Briggs,                                1004,
     Rebecca) STRICKEN on 2/8/2019
     (jb). (Entered: 12/31/2018)                                     602
8.   MOTION to Strike Reply in Support            The Pleadings      801(c),802,
     of Defendant Blushing Books' Motion          are                 805,
     to Dismiss by Quill Ink Books                inadmissible       901(a), 401,
     Limited. (Erwin, Dylan) (Entered:            hearsay, are not   402, 104(b),
     01/02/2019)                                  evidence, and      and b, Lack
                                                                     of
                                                  should not be
                                                                     Foundation.
                                                  admitted as
                                                  exhibits.           106,
                                                                      1001-
                                                                      1004,
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                                                                      602
9.    ORDER granting MOTION to                     The Pleadings      801(c),802,
      Strike Reply in Support of Defendant         are                 805,
      Blushing Books' Motion to Dismiss.           inadmissible       901(a), 401,
      Defendant Blushing Books may                 hearsay, are not   402, 104(b),
      properly answer or otherwise respond         evidence, and      and b, Lack
                                                                      of
      to Plaintiff's Amended Complaint on          should not be
                                                                      Foundation.
      or before February 17, 2019. Signed          admitted as
      by Honorable Charles Goodwin on              exhibits.           106,
      02/08/2019. (jb) (Entered:                                       1001-
      02/08/2019)                                                      1004,

                                                                      602
10.   ORDER granting Motion to Dismiss.            The Pleadings      801(c),802,
      The claims against Defendant Soto are        are                 805,
      dismissed without prejudice for lack         inadmissible       901(a), 401,
      of personal jurisdiction. Signed by          hearsay, are not   402, 104(b),
      Honorable Charles Goodwin on                 evidence, and      and b, Lack
                                                                      of
      02/13/2019. (jb) (Entered:                   should not be
                                                                      Foundation.
      02/13/2019)                                  admitted as
                                                   exhibits.           106,
                                                                       1001-
                                                                       1004,

                                                                      602
11.   FIRST ANSWER to Amended                      The Pleadings      801(c),802,
      Complaint, Answer, FIRST                     are                 805,
      COUNTERCLAIM Complaint against               inadmissible       901(a), 401,
      Quill Ink Books Limited by ABCD              hearsay, are not   402, 104(b),
      Graphics and Design Inc.(Briggs,             evidence, and      and b, Lack
                                                                      of
      Rebecca) (Entered: 02/17/2019)               should not be
                                                                      Foundation.
                                                   admitted as
                                                   exhibits.           106,
                                                                       1001-
                                                                       1004,

                                                                      602
12.   FIRST MOTION to                              The Pleadings 801(c),802,
      Exclude PLAINTIFFS EXPERT                    are               805,
      WITNESS KRISTINA BUSSE;                      inadmissible     901(a), 401,
      REQUEST FOR HEARING                          hearsay, are not 402, 104(b),
                                                                      and b, Lack
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      PURSUANT TO DAUBERT AND                      evidence, and      of
      FRE 702 by ABCD Graphics and                 should not be      Foundation.
      Design Inc. (Briggs, Rebecca)                admitted as
      (Entered: 05/30/2019)                        exhibits.           106,
                                                                       1001-
                                                                       1004,

                                                                      602
13.   FIRST MOTION to                              The Pleadings      801(c),802,
      Compel DISCOVERY AND                         are                 805,
      REQUEST FOR SANCTIONS AND                    inadmissible       901(a), 401,
      ATTORNEYS FEES by ABCD                       hearsay, are not   402, 104(b),
      Graphics and Design Inc.                     evidence, and      and b, Lack
                                                                      of
      (Attachments: # 1 Exhibit 1: Plaintiff's     should not be
                                                                      Foundation.
      Initial Disclosures, # 2 Exhibit:            admitted as
      Defendant's Discovery Requests,              exhibits.           106,
      # 3 Exhibit: Formal Letter Requesting                            1001-
      Discovery, # 4 Exhibit: Plaintiff's                              1004,
      Response to Discovery
      Request)(Briggs, Rebecca) (Entered:                             602
      07/25/2019)
14.   Select Portions of Deposition of             These lack         801(c),802,
      Rachelle Soto a/k/a Addison Cain,            foundation,         805,
      including Deposition Exhibits # 1            personal           901(a), 401,
      Announcements, # 2 Amended                   knowledge, and     402, 104(b),
      Complaint, # 3 GoFundMe, “Help               are                and b, Lack
                                                                      of
      Addison Cain with her legal                  inadmissible
                                                                      Foundation.
      defense!”, # 4 Blog Post, # 5 Addison        hearsay.
      Cain’s Facebook page, # 6                                        106,
      Spreadsheet of side-by-side read-                                1001-
      through, # 7 DMCA e-mail Bates                                   1004,
      SOTO_000103 through 106, # 8 E-
      mail chain beginning 4/19/18 from                               602
      Bethany Burke to Rachelle Soto, # 9
      Certificate of Registration,
      Registration Number TX 8-578-230
      Bates SOTO_001089, # 10 E-mail
      chain beginning 4/17/18 from
      Rachelle Soto to Bethany Burke Bates
      SOTO)001001 through 1003, # 11
      5/16/18 e-mail from Rachelle Soto to
      Allison Bates SOTO_000571, # 12 E-
      mail chain beginning 4/26/18 from
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      Rachelle Soto to Allison Bates
      SOTO_000627, # 13 E-mail chain
      beginning 4/26/18 from Rachelle Soto
      to Allison Bates SOTO_000600, # 14
      “Exhibit 5” to the complaint, series of
      emails, # 15 “Exhibit 4” to the
      complaint, # 16 “Exhibit 3” to the
      complaint, # 17 “Exhibit 6” to the
      complaint.
15.   Crave to Conquer by Zoey Ellis            QIB-     Hearsay, Lack     FED. R.
                                                000078   of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
                                                         Incomplete        901(a),
                                                         Evidence.         1001-1004,
16.   Crave to Capture by Zoey Ellis            QIB-     Hearsay, Lack     FED. R.
                                                000078   of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
                                                         Incomplete        901(a),
                                                         Evidence.         1001-1004.
17.   Crave to Claim by Zoey Ellis              QIB-     Hearsay, (Lack    FED. R.
                                                000078   of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
                                                         Incomplete        901(a),
                                                         Evidence          1001-1004).
18.   Born to be Bound by Addison Cain                   Hearsay, (Lack    FED. R.
                                                         of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
                                                         Incomplete        901(a),
                                                         Evidence          1001-1004.
19.   Born to be Broken by Addison Cain                  Hearsay, Lack     FED. R.
                                                         of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
                                                         Incomplete        901(a),
                                                         Evidence          1001-1004.
20.   Reborn by Addison Cain                             Hearsay, (Lack    FED. R.
                                                         of Foundation,    EVID.
                                                         Lack of           801(c) and
                                                         Authentication,   802, 805.
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                                                   Incomplete        901(a),
                                                   Evidence          1001-1004.
21.   Kristina Busse, Ph.D. Report and             Hearsay, Lack     FED. R.
      curriculum vitae                             of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence          1001-1004.
22.   Financial Statements               QIB-      Hearsay,          FED. R.
                                         000001 - Incomplete,        EVID.
                                         QIB-      Lack of           801(c) and
                                         000009    Foundation,       802, 805.
                                                   Lack of           901(a),
                                                   Authentication,   1001-1004.
                                                   Lack of
                                                   Personal
                                                   Knowledge,
                                                   Calls for
                                                   Speculation
23.   Financial Verification             QIB-      Hearsay, Lack     FED. R.
                                         0000010, of Foundation,     EVID.
                                         QIB-      Lack of           801(c) and
                                         000068    Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence          1001-1004.
24.   Marketing Information              QIB-      Hearsay, Lack     FED. R.
                                         0000011 - of Foundation,    EVID.
                                         QIB-      Lack of           801(c) and
                                         000014    Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence          1001-1004.
25.   BookTrader Information             QIB-      Hearsay, Lack     FED. R.
                                         000015 - of Foundation,     EVID.
                                         QIB-      Lack of           801(c) and
                                         000016,   Authentication,   802, 805.
                                         QIB-      Incomplete        901(a),
                                         000069    Evidence          1001-1004.
26.   Amazon Sales Information           QIB-      Hearsay, (FED.    FED. R.
                                         000017-   R. EVID.          EVID.
                                         QIB-      801(c) and 802,   801(c) and
                                         000026    805). Lack of     802, 805.
                                                   Foundation,       901(a),
                                                   Lack of           1001-1004.
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                                                       Authentication,
                                                       Incomplete
                                                       Evidence
27.   Google Sales Information               QIB-      Hearsay, (FED.    FED. R.
                                             000027-   R. EVID.          EVID.
                                             QIB-      801(c) and 802,   801(c) and
                                             000066    805). Lack of     802, 805.
                                                       Foundation,       901(a),
                                                       Lack of           1001-1004.
                                                       Authentication,   602
                                                       Incomplete
                                                       Evidence, Lack
                                                       of Personal
                                                       Knowledge
28.   Quill Ink Books Limited Registration   QIB-      Hearsay, Lack     FED. R.
                                             000067    of Foundation,    EVID.
                                                       Lack of           801(c) and
                                                       Authentication,   802, 805.
                                                       Incomplete        901(a),
                                                       Evidence, Lack    1001-1004.
                                                       of Personal       602
                                                       Knowledge
29.   Quill Ink Books Expenses               QIB-      Hearsay, Lack     FED. R.
                                             000070-   of Foundation,    EVID.
                                             QIB-      Lack of           801(c) and
                                             000073    Authentication,   802, 805.
                                                       Incomplete        901(a),
                                                       Evidence, Lack    1001-1004.
                                                       of Personal       602
                                                       Knowledge
30.   Quill Ink Books Comparison             QIB-      Hearsay, Lack     FED. R.
                                             000074    of Foundation,    EVID.
                                                       Lack of           801(c) and
                                                       Authentication,   802, 805.
                                                       Incomplete        901(a),
                                                       Evidence, Lack    1001-1004.
                                                       of Personal       602
                                                       Knowledge
31.   Emails concerning Business             QIB-      Hearsay, Lack     FED. R.
      Interference                           000075-   of Foundation,    EVID.
                                             QIB-      Lack of           801(c) and
                                             000077    Authentication,   802, 805.
                                                       Incomplete        901(a),
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                                                     Evidence, Lack    1001-1004.
                                                     of Personal       602
                                                     Knowledge
32.   Documents Produced by Draft2Digital D2D-001    Hearsay, Lack     FED. R.
      Pursuant to Subpoena, including July -         of Foundation,    EVID.
      8, 2019, July 14, 2019, and July 19, D2D-052   Lack of           801(c) and
      2019 correspondence.                           Authentication,   802, 805.
                                                     Incomplete        901(a),
                                                     Evidence, Lack    1001-1004.
                                                     of Personal       602
                                                     Knowledge
33.   Defendant’s Responses to Plaintiff’s     N/A   Hearsay, Lack     FED. R.
      First Set of Discovery Requests,               of Foundation,    EVID.
      including documents produced #1,               Lack of           801(c) and
      #2, #3, #4, #5, #6, #7, #11, #12, #71,         Authentication,   802, 805.
      #72, #73, #74, #75, #77, and #78               Incomplete        901(a),
      (Identified with Post-It Notes, Not            Evidence, Lack    1001-1004.
      bates labeled).                                of Personal       602
                                                     Knowledge
34.   Defendant’s Supplemental Document        N/A   See below
      Production without bates labeling, as
      follows:
35.   Broken Contract                          N/A   Hearsay, Lack     FED. R.
                                                     of Foundation,    EVID.
                                                     Lack of           801(c) and
                                                     Authentication,   802, 805.
                                                     Incomplete        901(a),
                                                     Evidence, Lack    1001-1004.
                                                     of Personal       602
                                                     Knowledge
36.   Reborn Contract                          N/A   Hearsay, Lack     FED. R.
                                                     of Foundation,    EVID.
                                                     Lack of           801(c) and
                                                     Authentication,   802, 805.
                                                     Incomplete        901(a),
                                                     Evidence, Lack    1001-1004.
                                                     of Personal       602
                                                     Knowledge
37.   Bound Contract                           N/A   Hearsay, Lack     FED. R.
                                                     of Foundation,    EVID.
                                                     Lack of           801(c) and
                                                     Authentication,   802, 805.
                                                     Incomplete        901(a),
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                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602
                                                   Knowledge
38.   Stolen Contract                   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602
                                                   Knowledge
39.   Cease and Desist                  N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
40.   Excel Comparison                  N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
41.   Excel Comparison Chart            N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
42.   Submitted Draft of Bred           N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
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43.   Submitted Draft of Stolen         N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    FED. R.
                                                   Lack of           EVID.
                                                   Authentication,   801(c) and
                                                   Incomplete        802, 805.
                                                   Evidence, Lack    901(a),
                                                   of Personal       1001-1004.
                                                   Knowledge         602.
44.   Submitted Draft of Broken         N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
45.   Submitted Draft of Reborn         N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
46.   Ellis Soto Chat                   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
47.   Barnes and Noble DMCA Notice      N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602.
                                                   Knowledge
48.   Amazon DMCA Notice                N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
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                                                  Authentication,   802, 805.
                                                  Incomplete        901(a),
                                                  Evidence, Lack    1001-1004.
                                                  of Personal       602.
                                                  Knowledge
49.   Blushing Books DMCA Notice 4-19-   N/A      Hearsay, Lack     FED. R.
      2018                                        of Foundation,    EVID.
                                                  Lack of           801(c) and
                                                  Authentication,   802, 805.
                                                  Incomplete        901(a),
                                                  Evidence,         1001-1004.
                                                  Lack of           602.
                                                  Personal
                                                  Knowledge
50.   Blushing Books DMCA Notice 5-2-    N/A      Hearsay, Lack     FED. R.
      2018                                        of Foundation,    EVID.
                                                  Lack of           801(c) and
                                                  Authentication,   802, 805.
                                                  Incomplete        901(a),
                                                  Evidence,         1001-1004.
                                                  Lack of           602.
                                                  Personal
                                                  Knowledge
51.   Response to DMCA Notice-Book 1     N/A      Hearsay, Lack     FED. R.
                                                  of Foundation,    EVID.
                                                  Lack of           801(c) and
                                                  Authentication,   802, 805.
                                                  Incomplete        901(a),
                                                  Evidence,         1001-1004.
                                                  Lack of           602.
                                                  Personal
                                                  Knowledge
52.   Response to DMCA Notice-Book 2     N/A      Hearsay, Lack   FED. R.
                                                  of Foundation,  EVID.
                                                  Lack of         801(c) and
                                                  Authentication, 802, 805.
                                                  Incomplete      901(a),
                                                  Evidence        1001-1004.
                                                                  602.
53.   Response to DMCA Notice-Book 3     N/A      Hearsay, Lack FED. R.
                                                  of Foundation, EVID.
                                                  Lack of         801(c) and
                                                  Authentication, 802, 805.
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                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
54.   Zoey Ellis Chat with Soto (Feb 26)   N/A     Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
55.   Defendant's Revised Discovery        N/A     Hearsay, Lack     FED. R.
      Responses                                    of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805.
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
56.   Defendant's Response to Complaint    N/A     Inadmissible.     FED. R.
                                                   The pleadings     EVID.
                                                   are not           801(c) and
                                                   evidence.         802, 805,
                                                   Hearsay, Lack     901(a),
                                                   of Foundation,    1001-1004.
                                                   Lack of           602.
                                                   Authentication,
                                                   Incomplete
                                                   Evidence,
                                                   Lack of
                                                   Personal
                                                   Knowledge
57.   Amazon Letter to Addison Cain        N/A     Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Personal          802, 805,
                                                   Knowledge,        901(a),
                                                   Lack of           1001-1004.
                                                   Authentication,   602.
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                                                   Incomplete
                                                   Evidence
58.   Blushing Email dated 2018-04-30   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
59.   Blushing Email dated 2018-05-20   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
60.   Blushing Email dated 2018-05-23   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
61.   Blushing Email dated 2018-05-25   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
62.   Blushing Email dated 2018-05-29   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
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                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
63.   Blushing Email dated 2018-05-30   N/A        Hearsay,          FED. R.
                                                   Foundation,       EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602.
                                                   Personal
                                                   Knowledge
64.   Blushing Email dated 2018-05-31   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
65.   Blushing Email dated 2018-06-03   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
66.   Blushing Email dated 2018-06-18   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
67.   Blushing Email dated 2018-06-27   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
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                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
68.   Blushing Email dated 2018-11-06   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
69.   Blushing Email dated 2018-11-20   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
70.   Blushing Email dated 2018-12-18   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
71.   Blushing Email dated 2019-01-04   N/A        Hearsay, Lack     FED. R.
                                                   of Foundation,    EVID.
                                                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence,         1001-1004.
                                                   Lack of           602
                                                   Personal
                                                   Knowledge
72.   Blushing Email dated 2019-07-15   N/A        Hearsay, Lack     FED. R.
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                                                       of Foundation,    EVID.
                                                       Lack of           801(c) and
                                                       Authentication,   802, 805,
                                                       Incomplete        901(a),
                                                       Evidence,         1001-1004.
                                                       Lack of           602
                                                       Personal
                                                       Knowledge
73.   Defendant’s Responses to Plaintiff’s   N/A       Hearsay, Lack     FED. R.
      Second Set of Discovery Requests                 of Foundation,    EVID.
      (No response from Defendant)                     Lack of           801(c) and
                                                       Authentication,   802, 805,
                                                       Incomplete        901(a),
                                                       Evidence,         1001-1004.
                                                       Lack of           602
                                                       Personal
                                                       Knowledge
74.   Defendant’s Responses to Plaintiff’s   N/A       Hearsay, Lack     FED. R.
      Third Set of Discovery Requests,                 of Foundation,    EVID.
      including documents produced pages               Lack of           801(c) and
      1-15 (Not bates labeled).                        Authentication,   802, 805,
                                                       Incomplete        901(a),
                                                       Evidence,         1001-1004.
                                                       Lack of           602
                                                       Personal
                                                       Knowledge
75.   Documents Produced by Rachelle         SOTO-     Hearsay, Lack     FED. R.
      Soto a/k/a Addison Cain Pursuant to    000001,   of Foundation,    EVID.
      Subpoena                               SOTO-     Lack of           801(c) and
                                             000004,   Authentication,   802, 805,
                                             SOTO-     Incomplete        901(a),
                                             000023,   Evidence,         1001-1004.
                                             SOTO-     Lack of           602
                                             000025,   Personal
                                             SOTO-     Knowledge
                                             000039,
                                             SOTO-
                                             000040,
                                             SOTO-
                                             000041,
                                             SOTO-
                                             000066,
                                             SOTO-
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                               000067,
                               SOTO-
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                               000101,
                               SOTO-
                               000103,
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                               000107,
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                               000234,
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Case 5:18-cv-00920-G Document 87 Filed 09/06/19 Page 35 of 46




                               000841,
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                               000866,
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                               000891,
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                               000915,
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                               000938,
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                               001004,
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Case 5:18-cv-00920-G Document 87 Filed 09/06/19 Page 36 of 46




                               SOTO-
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                               001103,
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                               001105,
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                               001129,
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                                              001171,
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                                              001183,
                                              SOTO-
                                              001186,
                                              SOTO-
                                              001188,
                                              SOTO-
                                              001189.
76.   All documents relied upon by                      Hearsay, Lack   FED. R.
      Plaintiff’s Expert, including the                 of Foundation,  EVID.
      subject books published by Plaintiff              Lack of         801(c) and
      and Defendant.                                    Authentication, 802, 805,
                                                        Incomplete      901(a),
                                                        Evidence, Lack  1001-1004.
                                                        of Personal     602, FED.
                                                        Knowledge       R. EVID.
                                                                        702
77.   All documents review by Plaintiff’s               Hearsay, Lack FED. R.
      corporate representatives, including              of Foundation, EVID.
      the subject books published by                    Lack of         801(c) and
      Plaintiff and Defendant.                          Authentication, 802, 805,
                                                        Incomplete      901(a),
                                                        Evidence, Lack 1001-1004.
                                                        of Personal     602, FED.
                                                        Knowledge       R. EVID.
                                                                        702
78.   All exhibits listed by Defendant to               N/A. Plaintiff
      which Plaintiff does not object.                  has objected to
                                                        Defendant’s
                                                        Exhibit and the
                                                        parties have
                                                        reached no
                                                        stipulations.
79.   Demonstrative exhibits, including but             Untimely.
      not limited to models, diagrams,                  These have not
      videos, photographs, summaries,                   been provided
      timelines and graphs.                             to Defendant.

80.   Timeline of False DMCA filings and                Untimely.
      other actions taken against Plaintiff             These have not
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                                                   been provided
                                                   to Defendant.
81.   Summary of the Subject Works                 Untimely.         FED. R.
      published by Plaintiff and Defendant         These have not    EVID.
                                                   been provided     801(c) and
                                                   to Defendant.     802, 805,
                                                   Hearsay, Lack     901(a),
                                                   of Foundation,    1001-1004.
                                                   Lack of           602, FED.
                                                   Authentication,   R. EVID.
                                                   Incomplete        702
                                                   Evidence, Lack
                                                   of Personal
                                                   Knowledge
82.   Summary of Plaintiff’s Damages               Hearsay, Lack   Untimely.
                                                   of Foundation,  These have
                                                   Lack of         not been
                                                   Authentication, provided to
                                                   Incomplete      Defendant.
                                                   Evidence        FED. R.
                                                                   EVID.
                                                                   801(c) and
                                                                   802, 805,
                                                                   901(a),
                                                                   1001-1004.
                                                                   602, FED.
                                                                   R. EVID.
                                                                   702
83.   All documents produced and to be             Hearsay, Lack Untimely.
      produced during discovery in this case       of Foundation, These have
      to which Plaintiff does not object.          Lack of         not been
                                                   Authentication, provided to
                                                   Incomplete      Defendant.
                                                   Evidence
84.   All pleadings and responses to written       Hearsay.        FED. R.
      discovery to which Plaintiff does not                        EVID.
      object.                                                      801(c) and
                                                                   802, 805,
                                                                   901(a),
                                                                   1001-1004.
                                                                   602, FED.
                                                                   R. EVID.
                                                                   702
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85.   All affidavits attached to, referenced       Hearsay, Lack     FED. R.
      in, or incorporated with any pleading        of Foundation,    EVID.
      filed by any party in this matter to         Lack of           801(c) and
      which Plaintiff does not object.             Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602, FED.
                                                   Knowledge         R. EVID.
                                                                     702
86.   All documents created, to be created,        Hearsay, Lack     FED. R.
      relied upon, or referred to by               of Foundation,    EVID.
      Plaintiff’s Expert witnesses.                Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence          1001-1004.
                                                                     602, FED.
                                                                     R. EVID.
                                                                     702
87.   Curriculum Vitae for Plaintiff’s             Hearsay.          FED. R.
      Expert.                                      Irrelevant.       EVID.
                                                                     801(c) and
                                                                     802, 805,
                                                                     901(a),
                                                                     1001-1004.
                                                                     602, FED.
                                                                     R. EVID.
                                                                     702
88.   Documents produced by Defendant in           Hearsay, Lack     FED. R.
      response to discovery to which               of Foundation,    EVID.
      Plaintiff does not object.                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602, FED.
                                                   Knowledge         R. EVID.
                                                                     702
89.   Documents produced by Plaintiff in           Hearsay, Lack     FED. R.
      response to discovery to which               of Foundation,    EVID.
      Plaintiff does not object.                   Lack of           801(c) and
                                                   Authentication,   802, 805,
                                                   Incomplete        901(a),
                                                   Evidence, Lack    1001-1004.
                                                   of Personal       602, FED.
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                                                             Knowledge       R. EVID.
                                                                             702
90.   Documents ordered produced by the                      Hearsay, Lack FED. R.
      Court pursuant to Plaintiff’s motion to                of Foundation, EVID.
      compel, if any, prior to trial and to                  Lack of         801(c) and
      which Plaintiff do not object.                         Authentication, 802, 805,
                                                             Incomplete      901(a),
                                                             Evidence, Lack 1001-1004.
                                                             of Personal     602, FED.
                                                             Knowledge,      R. EVID.
                                                             Lack of         702
                                                             Personal
                                                             Knowledge

       B.     Defendant:

Defendant previously submitted a 32-page pleading specifically outlining all its
objections to the Plaintiff’s witness and exhibit list. The Court has not ruled on these yet,
and the objections are outstanding. The Defendant strenuously objects to the inclusion of
any exhibit that was not specifically outlined within the Plaintiff’s Final Witness and
Exhibit List (Doc. 40) particularly if that exhibit is a document that was reasonably in
Plaintiff’s possession or control at the time of the filing of Doc. 40.

No. Title/Description                              Bates No.           Objection        Rule
1.  Comparison Chart                                               Relevance;           401,
                                                                   Unfair Prejudice;    402,
                                                                   Confusion of the     403,
                                                                   issues; Hearsay;     702,
                                                                   Authentication;      801,
                                                                   Misleading the       802,
                                                                   Jury; Waste of       901.
                                                                   Time; Needles
                                                                   Cumulative
                                                                   Evidence;
                                                                   Improper Basis:
                                                                   Not Based Upon
                                                                   Reliable Facts,
                                                                   Data, Principals,
                                                                   or Methods and
                                                                   Spoliation and
                                                                   refusal to
                                                                   produce
                                                                   underlying
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                                                                 evidence and
                                                                 creator as
                                                                 outlined in
                                                                 Plaintiff’s motion
                                                                 for sanctions.

      (Premarked for trial and exchanged as required under LCvR 39.4(a))

7.    WITNESSES: The following exclusionary language MUST be included:

      Unlisted witnesses in chief will not be permitted to testify unless, by order of the
      court, the final pretrial order is amended to include them.

      A.     Plaintiff:

Name                           Address                        Proposed Testimony
Anne Wills, or other           c/o Becky Briggs               The witness may testify
Corporate Representative of    The Law Office of Becky        regarding the claims, issues
ABCD Graphics and              Briggs, LLC                    and defenses in Plaintiff’s
Design, Inc., d/b/a Blushing   P.O. Box 9470                  Amended Complaint and
Books Publishing               Pueblo, CO 81008               Defendant’s Answer
                                                              including, but not limited to,
                                                              the filing of false DMCA
                                                              take-down notices, fraud,
                                                              defamatory statements, and
                                                              tortious interference with
                                                              Plaintiff’s contractual and
                                                              business relations.
Rachelle Soto a/k/a Addison c/o Shawn M. Dellegar             Deposed.
Cain through Deposition     Crowe & Dunlevy
Designations.               Kennedy Building
                            321 South Boston Ave.,
                            Suite 500
                            Tulsa, OK 74103
Kristina Busse, Ph.D.,      c/o Gideon A. Lincecum            The witness may testify
Corporate Representative of Holladay & Chilton, PLLC          regarding the claims, issues,
Quill Ink Books Limited     204 N. Robinson, Ste. 1550        and defenses in Plaintiff’s
                            Oklahoma City, OK 73102           Amended Complaint and
                                                              Defendant’s Answer
                                                              including, but not limited to,
                                                              the filing of false DMCA
                                                              take-down notices,
                                                              defamatory statements, and
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                                                           tortious interference with
                                                           Plaintiff’s contractual and
                                                           business relations.
Payne Harrison,               c/o Gideon A. Lincecum       The witness may testify
Corporate Representative of   Holladay & Chilton, PLLC     regarding the claims, issues,
Quill Ink Books Limited       204 N. Robinson, Ste. 1550   and defenses in Plaintiff’s
                              Oklahoma City, OK 73102      Amended Complaint and
                                                           Defendant’s Answer
                                                           including, but not limited to,
                                                           Plaintiff’s sales history and
                                                           damages.
Kristina Busse, Ph.D.,        c/o Gideon A. Lincecum       The witness may testify
Plaintiff’s Expert Witness    Holladay & Chilton, PLLC     regarding the claims, issues
                              204 N. Robinson, Ste. 1550   and defenses in Plaintiff’s
                              Oklahoma City, OK 73102      Amended Complaint and
                                                           Defendant’s Answer in her
                                                           capacity as an expert
                                                           witness regarding fan
                                                           fiction, fan culture, and
                                                           other literary issues relevant
                                                           to Plaintiff’s lawsuit.
Tara Robinett, or other       c/o Zachary A.P. Oubre       The witness may testify
representative of             McAfee & Taft                regarding the claims, issues,
Draft2Digial, LLC             Tenth Floor                  and defenses in Plaintiff’s
                              Two Leadership Square        Amended Complaint and
                              211 N. Robinson              Defendant’s Answer
                              Oklahoma City, OK 73102      including, but not limited to,
                                                           receipt of Defendant’s false
                                                           DMCA take-down notices.
All witnesses listed by
Defendant, not objected to
by Plaintiff.
Any witness identified
during depositions of this
matter, not objected to by
Plaintiff.
Any witness identified
during the remainder of
discovery, not objected to
by Plaintiff.
Any witness necessary for
Plaintiff’s rebuttal or
impeachment.
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      B.     Defendant:

Name                         Address                   Proposed Testimony
Anne Wills, CEO of ABCD      c/o Becky Briggs          Personal knowledge of Both
Graphics and Design, Inc.,   The Law Office of Becky   Book One of Alpha’s Claim
d/b/a Blushing Books         Briggs, LLC               (Born to be Bound) and
Publishing                   P.O. Box 9470             Book One of Myth of
                             Pueblo, CO 81008          Omega (Crave to Claim),
                                                       including similar plat
                                                       structures and story beats.
                                                       Personal knowledge of
                                                       sequence of filing DMCA
                                                       notices by ABCD Graphics
                                                       and Design. Testimony
                                                       regarding ebook publication
                                                       of the Alpha’s Claim series,
                                                       including but not limited to
                                                       reasonable revenue
                                                       calculations, percentage
                                                       comparisons between
                                                       vendors, and sales trends.
                                                       Personal knowledge of use
                                                       of social media regarding
                                                       this matter. Communication
                                                       with author Addison Cain.
Allison Travis, Production   c/o Becky Briggs          This witness can testify on
Manager of ABCD              The Law Office of Becky   the following topics
Graphics and Design, Inc.,   Briggs, LLC               concerning the case
d/b/a Blushing Books         P.O. Box 9470             between ABCD Graphics &
Publishing                   Pueblo, CO 81008          Design DBA Blushing
                                                       Books, Zoey Ellis and
                                                       Addison Cain: a. Emails
                                                       and conversations between
                                                       Briggs, Addison and
                                                       Bethany Burke concerning
                                                       DMCA take down notices,
                                                       asking Defendant to file the
                                                       DMCA Notices, and
                                                       updates on the process of
                                                       this. Revenue percentages
                                                       that are typical of books
                                                       posted for sale on Amazon,
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                                                               iBooks, Barnes and Noble,
                                                               Kobo, and other digital
                                                               vendors. Behavior of ABCE
                                                               Graphics and Design’s
                                                               owner, Anne Wills, towards
                                                               other authors and competing
                                                               entities. Behavior of ABCE
                                                               Graphics and Design’s
                                                               owner, Anne Wills,
                                                               concerning social media
                                                               related to this controversy.

[Plaintiff’s Response: Plaintiff objects to these witnesses being allowed to testify on the
ground of spoliation of and refusal to produce emails as outlined in Plaintiff’s motion to
compel and request for sanctions.]
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8.    ESTIMATED TRIAL TIME: (3 days total)

      A.     Plaintiff’s Case:   1-2 days.

      B.     Defendant’s Case: 1 days

9.    BIFURCATION REQUESTED:

      Plaintiff:    Yes         No 

      Defendant:    Yes         No 

10.   POSSIBILITY OF SETTLEMENT:

      Good         Fair        Poor 
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All parties approve this report and understand and agree that this report supersedes all
pleadings, shall govern the conduct of the trial, and shall not be amended except by order
of the Court.

                                             s/ Gideon A Lincecum
                                             Gideon A. Lincecum, OBA No. 19674
                                             James W. Dobbs, OBA No. 14995
                                             Dylan D. Erwin, OBA No. 31987
                                             HOLLADAY & CHILTON, PLLC
                                             204 North Robinson, Suite 1550
                                             Oklahoma City, OK 73102
                                             Telephone: (405) 236-2343
                                             Facsimile: (405) 236-2349
                                             Email: glincecum@holladaychilton.com
                                                     jdobbs@holladaychilton.com
                                                     derwin@holladaychilton.com

                                             ATTORNEYS FOR PLAINTIFF


                                             s/ Becky Briggs
                                             Becky Briggs
                                             THE LAW OFFICE OF BECKY BRIGGS, LLC
                                             315 Colorado Ave
                                             Pueblo, CO 81103
                                             Telephone: (719) 924-9954
                                             Facsimile: (970) 826-7050
                                             Email: BeckyBriggsLaw@gmail.com

                                             ATTORNEY FOR DEFENDANT
